Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 1 of 40 PageID #:10208




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

MAUI JIM, INC., an Illinois            )
Corporation,                           )
                                       ) No. 16-cv-09788
      Plaintiff,                       )
                                       ) Hon. Marvin E. Aspen
v.                                     )
                                       )
SMARTBUY GURU ENTERPRISES, a           )
Cayman Island Company, MOTION          )
GLOBAL LTD., a Hong Kong Company,      ) FILED UNDER SEAL
SMARTBUYGLASSES SOCIETÀ A              )
RESPONSABILITÀ LIMITATA, an            )
Italian company, SMARTBUYGLASSES       )
OPTICAL LIMITED, a Hong Kong           )
company,                               )
                                       )
               Defendants.             )


               PLAINTIFF’S MEMORANDUM IN SUPPORT OF ITS
                 MOTION FOR SUMMARY JUDGMENT ON ITS
               LANHAM ACT AND RELATED STATE LAW CLAIMS


                                      John Gabrielides
                                      BARNES & THORNBURG LLP
                                      One North Wacker Drive, Suite 4400
                                      Chicago, IL 60606

                                      Michelle M. Mikol
                                      BARNES & THORNBURG LLP
                                      1717 Pennsylvania Avenue NW, Suite 500
                                      Washington, DC 20006

                                      Attorneys for Plaintiff
     Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 2 of 40 PageID #:10209




                                                    TABLE OF CONTENTS

                                                                                                                                        Page

I.       MAUI JIM AND ITS MAUI JIM SUNGLASSES .............................................................3

         A.      Maui Jim and its MAUI JIM Sunglasses ................................................................. 3
         B.      Maui Jim and Its Authorized Retailers .................................................................... 7

II.      SBG AND ITS SALE OF MAUI JIM-BRANDED SUNGLASSES..................................9

III.     TRADEMARK INFRINGEMENT, COUNTERFEITING, AND UNFAIR
         COMPETITION IN VIOLATION OF 15 U.S.C. § 1114(1) AND § 1125(A) .................17

         A.      The MAUI JIM Marks are Registered With the U.S. Patent & Trademark
                 Office ..................................................................................................................... 18
         B.      The Law Presumes That SmartBuy’s Use of Counterfeit MAUI JIM Marks
                 on Sunglasses is Likely to Cause Confusion ......................................................... 19
         C.      Even Without the Presumption, SBG’s Use of the MAUI JIM Marks Creates
                 a Likelihood of Confusion ..................................................................................... 20

                 1.         The Similarity Between the Marks. ...........................................................20
                 2.         The Similarity of the Products ...................................................................21
                 3.         The Area and Manner of Concurrent Use .................................................21
                 4.         The Degree of Care Likely to be Exercised by Consumer ........................21
                 5.         The Strength of the MAUI JIM Marks ......................................................22
                 6.         Actual Confusion .......................................................................................22
                 7.         SBG’s Intent to Present its MAUI JIM-Branded Sunglasses as
                            Authentic MAUI JIM Sunglasses ..............................................................24

IV.      SBG CANNOT ESTABLISH THE EXHAUSTION OR FIRST SALE DEFENSE........26

         A.      SBG Cannot Establish That Each Pair of MAUI JIM Sunglasses That It Sold
                 Was First Sold by Maui Jim to SBG or to One of Maui Jim’s Authorized
                 Retailers ................................................................................................................. 26
         B.      The MAUI JIM-Branded Sunglasses That SBG Sold Were Materially
                 Different From Genuine MAUI JIM Sunglasses ................................................... 27
         C.      The ‘Sponsorship Exception’ to the First Sale Doctrine Makes SBG Unable
                 to Establish the Defense ........................................................................................ 32




                                                                    1
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 3 of 40 PageID #:10210




V.      FALSE ADVERTISING IN VIOLATION OF 15 U.S.C. § 1125(A) ..............................36

VI.     REVERSE PASSING OFF IN VIOLATION OF 15 U.S.C. § 1125(A) ...........................37

VII.    UNFAIR COMPETITION, IN VIOLATION OF ILLINOIS’ UNIFORM
        DECEPTIVE TRADE PRACTICES ACT, 815 ILCS 510 ET SEQ. ................................38

VIII.   CONCLUSION .................................................................................................................38




                                                                2
     Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 4 of 40 PageID #:10211




         The material facts in the instant case are simple and not amenable to any genuine

dispute. Defendants (collectively, “SBG”) trade upon Plaintiff’s (“Maui Jim’s”) reputation and the

goodwill of its federally registered MAUI JIM trademarks by selling and offering for sale

counterfeit and non-genuine sunglasses under Maui Jim’s trademarks. Moreover, in an effort to

unfairly compete with Maui Jim and its authorized retailers and to obtain product sales, SBG,

among other things, falsely advertises that it is an authorized retailer of authentic MAUI JIM-

branded sunglasses, and makes misleading representations that its sunglasses are approved and

manufactured by Maui Jim, when they are not. SBG’s intentional acts to perpetuate the false

impression that Maui Jim has approved of, or partnered with, SBG are egregious, and the evidence

of actual confusion is overwhelming. Maui Jim has been, and continues to be, irreparably harmed

by SBG’s unlawful actions, and when the material facts are applied to well-established law, Maui

Jim is entitled to summary judgment.

I.       MAUI JIM AND ITS MAUI JIM SUNGLASSES

         A.     Maui Jim and its MAUI JIM Sunglasses

         Maui Jim is a leading designer, manufacturer, and provider of premium prescription and

non-prescription sunglasses, which are marketed, offered, and sold globally, including in the

United States and Italy. (SOF ¶ 1.)

         Since at least as early as the 1980s, Maui Jim has continuously used the marks shown in

the left-hand column of the chart below (together, the “MAUI JIM Marks”) in selling sunglasses

in U.S. commerce, to distinguish its sunglasses from those offered by others. (SOF ¶ 2.)




                                                3
    Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 5 of 40 PageID #:10212




    Mark                   Goods                        Reg. No.    Reg. Date
                           Clothing, namely t-shirts;
    MAUI JIM                                            1404711     August 12, 1986
                           sunglasses


                           Sunglasses1                  3443858     June 10, 2008



                           Sunglasses2                  1465234     November 17, 1987



                           Clothing, namely, t-shirts,
                           polo shirts, tank tops, hats,
                                                         4547944    June 10, 2014
                           visors, sweatshirts and
                           jackets; sunglasses



           Maui Jim has registered its MAUI JIM Marks with the U.S. Patent & Trademark Office

for sunglasses and, in some cases other goods, as shown in the second, third, and fourth columns

of the chart above. (SOF ¶ 5.)




1
  This Registration originally covered sunglasses and clothing. (SOF ¶ 3.) Maui Jim deleted
clothing from the Registration on October 30, 2013, as reflected in Maui Jim’s filings with the
U.S.     Patent    &     Trademark     Office.    See     https://tsdr.uspto.gov/documentview-
er?caseId=sn77151982&docId=S8920180612164322#docIndex=3&page=1.

2
  This Registration originally covered sunglasses and clothing. (SOF ¶ 4.) Maui Jim deleted
clothing from the Registration on May 16, 2018, as reflected in Maui Jim’s filings with the U.S.
Patent                  &               Trademark                   Office.                  See
https://tsdr.uspto.gov/documentviewer?caseId=sn73622271&docId=S8920071115142818#docIn
dex=5&page=1.


                                                 4
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 6 of 40 PageID #:10213




        Maui Jim offers over 125 different styles of sunglasses under one or more of its MAUI JIM

Marks. (SOF ¶ 6.) Every pair of MAUI JIM sunglasses is 100% polarized and protects against

100% of various types of ultraviolet (“UV”) radiation, including UVA, UVB, and UVC rays. (Id.)

        In addition, every pair of lenses in MAUI JIM sunglasses incorporates Maui Jim’s patented,

color-infused lens technology that wipes out glare and UV rays, and boosts color via specially

designed lens treatments. (SOF ¶ 7.) Maui Jim’s proprietary technology—which Maui Jim markets

under the POLARIZEDPLUS and POLARIZEDPLUS2 marks—provides remarkable clarity and

color enhancement that further distinguishes MAUI JIM sunglasses from its competitors and that

consumers have come to expect from MAUI JIM sunglasses. (Id.)

        Maui Jim has used its POLARIZEDPLUS mark since at least as early as April 1989, and

its POLARIZEDPLUS2 mark since at least as early as January 2004. (SOF ¶ 8.) Maui Jim has

registered each mark with the U.S. Patent & Trademark Office as shown chart below. (Id.)

 Mark                     Goods                        Reg. No.        Reg. Date
                          Eyeglasses and eyeglass
 POLARIZEDPLUS                                         2251175         June 8, 1999
                          lenses


 POLARIZEDPLUS2           Sunglasses                   3010769         November 1, 2005




        Maui Jim also offers other features, lens materials, colors, applications, and treatments

unique to MAUI JIM sunglasses to further enhance the distinctiveness and value of its MAUI JIM

Marks and the Sunglasses sold under its Marks. (SOF ¶ 9.)

        Since 2009, Maui Jim has invested nearly                  in advertising, promoting, and

marketing its MAUI JIM sunglasses and in establishing its MAUI JIM Marks and the




                                                5
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 7 of 40 PageID #:10214




POLARIZEDPLUS2 mark in the minds of consumers as a source of high quality premium

products offered by Maui Jim. (SOF ¶ 10.)

        Maui Jim prominently uses its MAUI JIM Marks and the POLARIZEDPLUS2 mark in

advertising, marketing, and promotional materials, including but not limited to TV commercials,

print advertisements, brochures, social media, and other digital advertising, marketing, and

promotional campaigns. (SOF ¶ 11.) As an example, over the past five years Maui Jim’s national

advertising campaign for MAUI JIM sunglasses has included TV commercials during the national

broadcasts of high profile sporting events, such as the Kentucky Derby, PGA Championship,

Stanley Cup Playoffs, NBA Playoffs, NCAA March Madness Tournament, MLB Opening Day

games, the NFL Draft, and the ESPYs. (Id.)

        Additionally, Maui Jim’s TV commercials have aired on major networks (for example,

NBC, CBS, ABC, HGTV, Discover Channel, Food Network, and ESPN) during popular morning

shows (for example, Today Show and Good Morning America) and prime-time dramas (for

example, Blacklist, 60 Minutes, Hawaii Five-O, Americas Got Talent, The Voice, Madam

Secretary, and Chicago PD). (SOF ¶ 11.)

        Maui Jim’s print advertising strategy has included premium placements in major

magazines such as Sports Illustrated, People Magazine, Golf Magazine, Shape, Fast Company,

among others. (SOF ¶ 11.) Maui Jim’s digital promotion strategy includes advertising on Pandora,

Facebook, Instagram, and other online platforms. (Id.) All of Maui Jim’s advertising and

promotional efforts feature the MAUI JIM Marks and the POLARIZEDPLUS2 mark, by design.

(Id.)

        Maui Jim also promotes the MAUI JIM Marks and the POLARIZEDPLUS2 mark through

and with high-profile sponsorships and partners; for example, Maui Jim is currently the Official



                                               6
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 8 of 40 PageID #:10215




Vision Partner of Manchester United, the Title sponsor of Maui Jim Maui Invitational men’s

college basketball tournament, and the Official Eyewear Sponsor of the ATP Men’s Tennis Tour.

(SOF ¶ 12.)

       For the past eight consecutive years, Maui Jim has been consistently recognized by optical

retailers and eye care professionals as the Sunglass Company of the Year in Vision Monday and

20/20 Magazine’s Annual EyeVote Readers’ Choice Award. (SOF ¶ 13.) Additionally, Maui Jim

has been voted the Readers’ Choice for the Best Prescription Sunglass Company and Brand

categories since 2017, when the category was first introduced. (Id.)

       All MAUI JIM sunglasses have earned the Skin Cancer Foundation’s Seal of

Recommendation as an effective UV filter for the eyes and surrounding skin. (SOF ¶ 14.)

       MAUI JIM sunglasses have become immensely popular with consumers due to (among

other things) Maui Jim’s high quality standards, superior lens technology, excellent customer

service, and reputable retail partnerships. (SOF ¶ 15.) As an example, Maui Jim built its own in-

house digital prescription lab at its headquarters in Peoria, Illinois, where Maui Jim produces every

single prescription lens used in those MAUI JIM sunglasses that Maui Jim sells in the U.S. with

prescription lenses, ensuring its customers the highest quality and service available. (Id.)

       Maui Jim considers its MAUI JIM Marks and the POLARIZEDPLUS2 mark to be among

the company’s most valuable and important assets as indicators of source of the company’s high

quality MAUI JIM sunglasses and related services. (SOF ¶ 16.) As a result of Maui Jim’s extensive

advertising, promotion, and sale of MAUI JIM sunglasses, Maui Jim has developed enormous

goodwill in connection with its MAUI JIM Marks and the POLARIZEDPLUS2 mark. (Id.)

       B.      Maui Jim and Its Authorized Retailers

       To maintain its high quality sunglasses, selection, and customer service, Maui Jim limits

the distribution of MAUI JIM sunglasses to its wholly-owned distributors throughout the world.

                                                 7
    Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 9 of 40 PageID #:10216




Maui Jim and its wholly-owned distributors sell MAUI JIM sunglasses through an authorized

retailer program, which permits select retail establishments to sell MAUI JIM sunglasses to

individuals who are interested in wearing premium eyewear. (SOF ¶ 17.)

        Maui Jim promotes its select authorized retailers through its websites. If a retailer is not

listed on Maui Jim’s websites, it is not a Maui Jim authorized retailer. (SOF ¶ 18.) The link at

www.mauijim.com/US/en_US/store-finder/position takes Internet visitors to a list of Maui Jim’s

U.S. authorized retailers, and the link at https://www.mauijim.com/US/en_US/retailer takes

visitors to a list of Maui Jim’s online authorized retailers. (SOF ¶ 19.) 3

        Maui Jim’s authorized U.S. retailers purchase MAUI JIM sunglasses only from Maui Jim

and/or its wholly-owned subsidiary Maui Jim USA, Inc. (SOF ¶ 20.) Each of those authorized

retailers enters into a written agreement with Maui Jim and/or Maui Jim USA, Inc. that governs

the business relationship, outlines Maui Jim’s terms and conditions, and make reference to its U.S.

General Policies (“Maui Jim Retailer Agreement”). (SOF ¶ 21.)

        Maui Jim requires that all Maui Jim sunglasses be sold with authentic Maui Jim lenses,

frames and parts and not modified in any manner. (SOF ¶ 22.) Maui Jim prohibits retailers from

inserting sunglass lenses into Maui Jim’s sunglass frames, or otherwise modifying the authentic

MAUI JIM sunglasses in any way. (Id.) Only Maui Jim’s authorized retailers can sell MAUI JIM

sunglasses with Maui Jim prescription lenses. (SOF ¶ 23.)

        Maui Jim requires that authorized retailers display online only those sunglasses that are in

its inventory. (SOF ¶ 24.) These polices ensure that customers will receive the highest quality




3
     The list of Maui Jim’s authorized online retailers                       used    to    be    at
http://www.www.mauijim.com/store-finder/retailer. (SOF ¶ 19.)


                                                  8
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 10 of 40 PageID #:10217




sunglasses, service and the expedited service and attention that its customers have come to expect

from Maui Jim and its retailers. (Id.)

       Maui Jim further ensures high quality customer service from its retailers by requiring that

each authorized retailer have the necessary technology to service online customers and meet

certain service requirements, including but not limited to, the ability to ship product within 48

hours of receiving an order. (SOF ¶ 25.)

       In addition, authorized retailers are required to direct all consumer repairs to Maui Jim for

low-cost, high quality repairs that are completed by Maui Jim’s trained repair technicians and

shipped back to its customers in a timely manner. (SOF ¶ 26.)

       Maui Jim provides extensive warranty protection for each pair of MAUI JIM sunglasses

sold directly by Maui Jim or its authorized retailers. (SOF ¶ 27.) Maui Jim does not extend its

warranty to sunglasses sold through unauthorized retailers. (SOF ¶ 28.) Maui Jim voids its

warranty for MAUI JIM sunglasses that have been modified to include parts that Maui Jim did not

manufacture. (SOF ¶ 29.) Maui Jim’s warranty and repair policies are an integral part of its

customer service offering that consumers have come to expect and enjoy from the MAUI JIM

brand and experience. (SOF ¶ 30.)

       SBG is not now, and has never been, an authorized retailers of MAUI JIM sunglasses.

(SOF ¶ 31.) Maui Jim has never sold a single pair of MAUI JIM sunglasses to SBG. (SOF ¶ 32.)

II.    SBG AND ITS SALE OF MAUI JIM-BRANDED SUNGLASSES

       SBG makes, and has made, prominent use of the MAUI JIM Marks in selling MAUI JIM-

branded sunglasses on SBG’s website and other digital platforms. For example:




                                                9
Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 11 of 40 PageID #:10218




(Exh. 1, MJ42; Exh. 2, MJ15694.)

       In these examples, SBG use the MAUI JIM Marks and also tells visitors that “Maui Jim

has you covered with their PolarizedPlus2® lens technology.” However, only Maui Jim’s

authorized retailers can sell MAUI JIM sunglasses with Maui Jim prescription lenses. (SOF ¶ 33.)

SBG has never been one of Maui Jim’s authorized retailers. (SOF ¶ 31.) Nevertheless, SBG sold

MAUI JIM-branded sunglasses after removing the original lenses and mounting into the frames

prescription lenses that did not come from Maui Jim and that were manufactured using a process

over which Maui Jim had no control. (SOF ¶ 34.)

       Other examples of SBG’s use of the MAUI JIM Marks and logos are shown at SOF 35.

       SBG represents to customers that it is one of Maui Jim’s authorized retailers. (SOF 36.)

SBG, however, is not now, and has never been, an authorized retailers of MAUI JIM sunglasses.

(SOF 32.) And Maui Jim has never sold a single pair of MAUI JIM sunglasses to SBG. (SOF 32.)


                                              10
    Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 12 of 40 PageID #:10219




         SBG contends that




4
 Calculated by adding the “Confirmed Invoice QTY”for those companies that do not have “NOT
ACCOUNT”handwritten next to them.


                                           11
Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 13 of 40 PageID #:10220




       Therefore, although SBG contends that all of the              pairs of MAUI JIM-branded

sunglasses that it sold came through distributors and affiliates that purchase directly from Maui

Jim, most and perhaps all could not have and must have come from somewhere else. And SBG

has shown no interest in learning where its suppliers get their MAUI JIM-branded sunglasses.

       SBG’s website represents to visitors that it has one operation center in the U.S.; namely, in

New York:




(SOF 40.)

       But SBG admits that it does not have any physical location or physical office in New York.

(SOF 41.)


                                                12
Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 14 of 40 PageID #:10221




       Similarly, after one of SBG’s customers had bought a pair of MAUI JIM-branded

sunglasses from SBG, the customer contacted Maui Jim about the order (direct evidence of source

confusion). He asked SBG




                                        SBG’s lack of presence in the U.S. matters to consumers

because it causes shipment delays.

       Moreover, SBG submits false information to U.S. Customs and Border Protection and to

the Food and Drug Administration when it imports MAUI JIM-branded sunglasses into the United

States for sale to U.S. customers. SBG’s false submissions include submitting, without Maui Jim’s

authorization, documents on Maui Jim letterhead that misrepresent to Customs that Maui Jim

certifies and guarantees SBG shipments.

       Because sunglasses are medical devices regulated by the FDA, SBG must certify that the

sunglass lenses being imported into the U.S. are impact resistant, in compliance with a “drop ball

test “protocol. See 21 C.F.R. §§ 886.5850 (sunglasses are medical devices), 801.410(d) (drop ball

testing), and 801.410(g) (testing applies to importers for resale). SBG admits that it



               It therefore cannot execute its own “drop ball “certification to satisfy the FDA’s

requirement.

       To get around this problem, it represented that Maui Jim guaranteed the lenses in SBG’s

shipments to be impact resistant. It did so as late as December 2017, more than one year into this

lawsuit, when SBG submitted to the FDA a Maui Jim Drop Ball Test Certification. (SOF 43.) The



                                               13
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 15 of 40 PageID #:10222




Certification is on Maui Jim letterhead, is dated June 8, 2009, and was signed by a former Maui

Jim Logistics Manager. SBG admits that it included the 2009 Maui Jim Drop Ball Certification to

clear the way for shipments to U.S.-based consumers (SOF 44), and that SBG never asked Maui

Jim for authorization to use the Certification (SOF 45). The maneuver worked: SBG’s U.S.

shipments of MAUI JIM-branded sunglasses came into the U.S. based on SBG’s misrepresentation

that Maui Jim had guaranteed the lenses in SBG’s shipments to be impact resistant – when Maui

Jim had never, and could never have, made such a guarantee.

       Between 2013 and 2017, SBG identified                     as the manufacturer of the MAUI

JIM-branded sunglasses that SBG shipped and sold to U.S. consumers.                 is one of Maui

Jim’s biggest competitors (SOF 46) and one of SBG’s “main partners,” as SBG touts on its website,

at https://www.smartbuyglasses.com/c/authenticity.

       SBG admits that              does not manufacture MAUI JIM-branded sunglasses. (ECF

259, at ¶68; SOF 47.) Nevertheless, SBG identified            as the manufacturer on thousands of

invoices included in shipments to U.S. consumers.

       SBG ships every pair of MAUI JIM-branded sunglasses that SBG sells into the U.S. from

Hong Kong. (SOF 48.) Each shipment includes a Commercial Invoice with information on

sunglasses, including the manufacturer of the sunglasses. (The required information is set forth in

regulations of U.S. Customs and Border Protection. See 19 C.F.R. § 141.86.) SBG creates the

Commercial Invoices for the products that it ships. (SOF 49.) As an example, SBG sent the

Commercial Invoice shown below to one of its U.S. customers who had purchased MAUI JIM-

branded sunglasses:




                                                14
Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 16 of 40 PageID #:10223




(SOF 50.)

       The highlighted fields show that SBG identified                         as the “Eyewear

Manufacturer.” The Invoice shown above is not an outlier. SBG hard-coded its Commercial

Invoice template so that every Commercial Invoice for every pair of MAUI JIM-branded

sunglasses that SBG shipped into the U.S. from 2013 (and perhaps earlier) through 2017 identified

                                               15
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 17 of 40 PageID #:10224




           as the manufacturer of the sunglasses. (SOF 51.) SBG sales documents show that it

shipped at least         pairs of MAUI JIM-branded sunglasses into the U.S. from 2013 to 2017.

(SOF 52.) Consumers noticed. More importantly, they were understandably confused by SBG’s

representation on its Invoices that        manufactured the MAUI JIM-branded sunglasses they

had purchased from SBG. For example, on January 23, 2017, a customer wrote SBG’s Customer

Service:




       On August 4, 2017, another customer likewise about the source of the sunglasses. During

the exchange, SBG first told the customer that SBG sourced the MAUI JIM-branded sunglasses

                                                                                        “SBG

did not correct the customer’s understandable confusion:




                                               16
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 18 of 40 PageID #:10225




       Maui Jim has also been contacted by consumers who were confused by SBG’s

manufacturer representation on its Invoice. On July 12, 2016, a person who had bought MAU JIM-

branded wrote to Maui Jim:




       And another consumer wrote to Maui Jim on January 23, 2017, asking whether

was authorized to sell Maui Jim, noting



       There is no genuine issue on the foregoing material facts and under familiar standards,

Maui Jim is entitled to summary judgment as a matter of law. See Fed.R.Civ.P. 56(a); Anderson v.

Liberty Lobby, 477 U.S. 242, 248 (1986); Celotex Corp. v. Catrett, 477 U.S. 317, 323, (1986);

Majors v. Gen. Elec. Co., 714 F.3d 527, 532-33 (7th Cir. 2013).

III.   TRADEMARK INFRINGEMENT, COUNTERFEITING, AND UNFAIR COMPETITION IN
       VIOLATION OF 15 U.S.C. § 1114(1) AND § 1125(A)

       SBG uses, without Maui Jim’s consent, the MAUI JIM Marks on sunglasses in a manner

that is likely to cause confusion, mistake, or deception. Because the Marks are registered with the

U.S. Patent & Trademark Office, SBG’s unauthorized use violates § 32(1) of the Lanham Act, 15

U.S.C. § 1114(1). SBG’s unauthorized use of the MAUI JIM Marks is also likely to cause

                                                17
    Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 19 of 40 PageID #:10226




confusion, mistake, or deception as to the origin, sponsorship, or approval of the sunglasses that it

sells under the Marks. That violates § 43(a)(1) of the Lanham Act, 15 U.S.C. § 1125(a)(1), which

does not require registration. See Entertainment One UK Ltd. v. 2012Shiliang, No. 18 CV 4461,

2019 WL 1953096, *2 (N.D. Ill. May 2, 2019).

         To prevail under either Section, Maui Jim must prove that: (1) MAUI JIM is a protected

mark; and (2) SmartBuy uses a mark that is likely to cause confusion among consumers. See

Entertainment One UK Ltd. v. 2012Shiliang, No. 18 CV 4461, 2019 WL 1953096, *3 (N.D. Ill.

May 2, 2019); H-D U.S.A., LLC v. Guangzhou Tomas Crafts Co., Ltd., No 16-cv-10096, 2017 WL

6733685, *2 (N.D. Ill. Dec. 18, 2017) (granting summary judgment of infringement,

counterfeiting, and unfair competition); Desmond v. Chicago Boxed Beef Distributors, Inc., 921

F.Supp.2d 872, 880 (N.D. Ill. 2013). A reasonable jury could not find in SBG’s favor on either

element.

         A.     The MAUI JIM Marks are Registered With the U.S. Patent &
                Trademark Office

         The U.S. Patent & Trademark Office has registered the MAUI JIM Marks on the Principal

Register. The Registrations constitute prima facie evidence of the validity of the Marks and of

Maui Jim’s exclusive right to use the Marks in commerce in connection with the goods specified

in the Registrations. See 15 U.S.C. § 1057(b); Entertainment One UK Ltd. v. 2012Shiliang, No. 18

CV 4461, 2019 WL 1953096, *3 (N.D. Ill. May 2, 2019). Moreover, three of the marks5 are

incontestable under 15 U.S.C. § 1115(b), which constitutes conclusive evidence of Maui Jim’s

exclusive right to use each of those Marks. See Park ‘N Fly, Inc. v. Dollar Park & Fly, Inc., 469



5
  MAUI JIM (Reg. No. 1404711), MAUI JIM Stylized (Reg. No. 3443858), and MAUI JIM
Stylized with Parrot Design (Reg. No. 1,456,234).


                                                 18
Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 20 of 40 PageID #:10227




U.S. 189, 192, 105 S. Ct. 658, 660, 83 L. Ed. 2d 582 (1985). Maui Jim has therefore met its burden

of showing that its MAUI JIM Marks are protectable. See H-D U.S.A., LLC v. Guangzhou Tomas

Crafts Co., Ltd., No 16-cv-10096, 2017 WL 6733685, *2 (N.D. Ill. Dec. 18, 2017) (granting

summary judgment of infringement, counterfeiting, and unfair competition).

         B.     The Law Presumes That SmartBuy’s Use of Counterfeit MAUI JIM Marks
                on Sunglasses is Likely to Cause Confusion

         The likelihood of confusion is presumed where a defendant sells counterfeit goods in an

apparent attempt to capitalize upon the popularity of, and demand for, the plaintiff’s product.

Entertainment One UK Ltd. v. 2012Shiliang, No. 18 CV 4461, 2019 WL 1953096, *3 (N.D. Ill.

May 2, 2019); Microsoft Corp. v. Rechanik, 249 Fed. App’x. 476, 479 (7th Cir. 2007); NBA

Properties, Inc. v. Yan Zhou, No. 16-CV-11117, 2017 WL 4074020, *3 (N.D. Ill. Sept. 14, 2017)

(the marks defendants used “are effectively indistinguishable from the Plaintiffs’ trademarks …

therefore it is presumed that the merchandise created a likelihood of confusion;” granting summary

judgment of trademark infringement, counterfeiting, and unfair competition); H-D U.S.A., LLC v.

Guangzhou Tomas Crafts Co., Ltd., No 16-cv-10096, 2017 WL 6733685, *3 (N.D. Ill. Dec. 18,

2017).

         A “counterfeit mark” is one that is identical with, or substantially indistinguishable from,

a registered mark and used for the sale of goods listed in the registration. 15 U.S.C. §§

1116(d)(1)(B)(i) and 1127. SBG sells sunglasses by using marks that are identical to the MAUI

JIM Marks, which are registered with the U.S. Patent & Trademark Office for sunglasses.

         SBG uses the counterfeit marks to capitalize on the worldwide popularity and demand for

MAUI JIM sunglasses. SBG has recognized the substantial commercial value of the MAUI JIM

brand. As far back as 2008, correspondence among three SBG executives shows their interest in

selling MAUI JIM-branded sunglasses:


                                                 19
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 21 of 40 PageID #:10228




       As a result, the likelihood of confusion is presumed.

       C.      Even Without the Presumption, SBG’s Use of the MAUI JIM Marks Creates
               a Likelihood of Confusion

       Even if SBG were not using counterfeit marks, the traditional “likelihood of confusion”

analysis ends at the same place considering: (1) the similarity between the marks; (2) the similarity

of the products; (3) the area and manner of concurrent use; (4) the degree of care likely to be

exercised by consumers; (5) the strength of the MAUI JIM Marks; (6) the staggering number of

instances of actual confusion; and (7) SBG’s intent to present its MAUI JIM-branded sunglasses

as authentic MAUI JIM sunglasses. See Facebook, Inc. v. Teachbook.com LLC, 819 F. Supp. 2d

764, 779 (N.D. Ill. 2011). No single factor is dispositive, but the Seventh Circuit treats the

similarity of the marks, actual confusion, and the defendant’s intent as particularly important. Id.

at 780. Where “the evidence is so one-sided that there can be no doubt about how the question

should be answered,” the likelihood of confusion can be resolved on summary judgment. NBA

Properties, Inc. v. Yan Zhou, No. 16-CV-11117, 2017 WL 4074020, *2 (N.D. Ill. Sept. 14, 2017)

(quoting Door Sys., Inc. v. Pro-Line Door Sys., Inc., 83 F.3d 169, 173 (7th Cir. 1996)). See also

H-D U.S.A., LLC v. Guangzhou Tomas Crafts Co., Ltd., No 16-cv-10096, 2017 WL 6733685, *4

(N.D. Ill. Dec. 18, 2017).

       An analysis of the seven factors compels the conclusion that there is a likelihood of

confusion.

               1.      The Similarity Between the Marks.

       The marks that SBG uses are identical to the MAUI JIM Marks.




                                                 20
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 22 of 40 PageID #:10229




               2.      The Similarity of the Products

       Maui Jim and SBG both use the same marks on sunglasses.

               3.      The Area and Manner of Concurrent Use

       Maui Jim and SBG both sell MAUI JIM sunglasses to end users online: SBG at

www.smartbuyglasses.com; Maui Jim at www.mauijim.com and through websites of its

authorized retailers, including (for example) Nordstrom and Abt Electronics. (SOF 19.)

               4.      The Degree of Care Likely to be Exercised by Consumer

       Purchasers of the parties’ respective sunglasses are individuals who buy the sunglasses for

personal use. Such purchasers can be expected to exercise a reasonable degree of care. But even

they exercised a heightened degree of care, it would not matter because no amount of care could

distinguish the MAUI JIM marks that SBG uses from the identical MAUI JIM Marks that Maui

Jim owns, particularly where the parties use the marks on identical products. “[W]here the products

are identical and the marks are identical, the sophistication of buyers cannot be relied upon to

prevent confusion.” McGregor-Doniger, Inc. v. Drizzle, Inc., 599 F.2d 1126, 1137 (2d Cir. 1979).

See also Banff, Ltd. v. Federated Dep’t Stores, Inc., 841 F.2d 486 (2d Cir. 1988) (“because both

parties produce lines of quality apparel under strongly similar marks, this factor does not mitigate

against the likelihood of confusion”); Cunningham v. Laser Golf Corp., 222 F.3d 943, 948–49

(Fed. Cir. 2000) (purchaser sophistication is outweighed by the “strong similarity of marks and

identity of goods”).

       Moreover, the evidence of extensive actual confusion (discussed below) belies any

argument that individuals exercise enough care to avoid being confused.




                                                21
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 23 of 40 PageID #:10230




               5.      The Strength of the MAUI JIM Marks

        “The ‘strength’ of a trademark refers to the mark’s distinctiveness, meaning its propensity

to identify the products or services sold as emanating from a particular source.” CAE, Inc. v. Clean

Air Eng’g, Inc., 267 F.3d 660, 684 (7th Cir. 2001). “The stronger the mark, the more likely it is

that encroachment on it will produce confusion.” AutoZone, Inc. v. Strick, 543 F.3d 923, 933 (7th

Cir. 2008). The trademark owner’s efforts and performance in the marketplace are evidence of the

mark’s economic and marketing strength. Id.

       For the reasons set forth above and the supporting testimony of Maui Jim’s Vice President

of Global Marketing Jay Black, the record contains overwhelming and indisputable evidence of

the commercial strength of the MAUI JIM Marks. See H-D U.S.A., LLC v. Guangzhou Tomas

Crafts Co., Ltd., No 16-cv-10096, 2017 WL 6733685, *4 (N.D. Ill. Dec. 18, 2017).

       The MAUI JIM Marks are also inherently strong, because they are arbitrary for use on

sunglasses. MAUI JIM is a term made up of two common words used in an unfamiliar way on

products that bear no relation to either word or to the term as a whole. See Abercrombie & Fitch

Co. v. Hunting World, Inc., 537 F.2d 4, 11 n.12 (2d Cir. 1976). As arbitrary marks, they are among

the strongest marks. See Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 768, 112 S. Ct. 2753,

2757, 120 L. Ed. 2d 615 (1992).

               6.      Actual Confusion

       Maui Jim does need evidence of actual confusion to demonstrate a likelihood of confusion.

See CAE, Inc. v. Clean Air Eng’g, Inc., 267 F.3d 660, 685-86 (7th Cir. 2001). But where evidence

of actual confusion exists, the Seventh Circuit gives it “substantial weight.”




                                                 22
Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 24 of 40 PageID #:10231




               “There can be no more positive or substantial proof of the likelihood of confusion
               than proof of actual confusion. Moreover, reason tells us that while very little proof
               of actual confusion would be necessary to prove the likelihood of confusion, an
               almost overwhelming amount of proof would be necessary to refute such proof.”
               World Carpets, Inc. v. Dick Littrells New World Carpets, 438 F.2d 482, 489 (5th
               Cir. 1971) *1090 (footnote omitted). Indeed, while likelihood of confusion “can be
               proven without any evidence of actual confusion, such evidence if available, is
               entitled to substantial weight.” [Helene Curtis Indus., Inc. v. Church & Dwight Co.,
               560 F.2d 1325, 1330 (7th Cir. 1977).]

Int’l Kennel Club of Chicago, Inc. v. Mighty Star, Inc., 846 F.2d 1079, 1089–90 (7th Cir. 1988).

See also Vacation Rental Partners, LLC v. VacayStay Connect, LLC, No. 15 CV 10656, 2017 WL

1150806, at *10 (N.D. Ill. Mar. 28, 2017) (summary judgment in favor of trademark owner where,

among other things, evidence of actual confusion “overwhelmingly establishes the likelihood of

confusion”).

       Both parties have received unsolicited statements from purchasers and potential purchasers

of MAUI JIM sunglasses reflecting actual confusion from SBG’s unauthorized use of the MAUI

JIM Marks. Even though just “[o]ne instance of actual confusion has been deemed sufficient to

weigh in favor of finding a likelihood of confusion,” CAE, Inc. v. Clean Air Eng’g, Inc., 267 F.3d

660, 685-86 (7th Cir. 2001), discovery exposed 181 instances of actual confusion. They are

collected at SOF 58 (“Confusion Chart”). Just a high-level review of each would make this

Memorandum well over 100 pages long. Here are just three examples.




                                                23
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 25 of 40 PageID #:10232




       The remaining 180 are equally revealing, both in quality and quantity.

               7.      SBG’s Intent to Present its MAUI JIM-Branded Sunglasses as Authentic
                       MAUI JIM Sunglasses

       Wrongdoers rarely admit their bad intent in using marks without permission from the

trademark owner, so courts “may infer Defendant’s intent to confuse consumers ‘from the

similarity of the marks where the senior mark has attained great notoriety.’” H-D U.S.A., LLC v.

Guangzhou Tomas Crafts Co., Ltd., No 16-cv-10096, 2017 WL 6733685, *4 (N.D. Ill. Dec. 18,

2017) (quoting AutoZone, Inc. v. Strick, 543 F.3d 923, 934 (7th Cir. 2008)).

       SBG uses marks that are identical to the MAUI JIM Marks. It uses those marks on

sunglasses, as does Maui Jim. Further, the MAUI JIM Marks have achieved overwhelming public

recognition over the many years that Maui Jim has used and advertised the Marks, at an investment

cost of hundreds of millions of dollars. Given the identity of the marks, the identity of the products,

and the strength of the MAUI JIM Marks, SBG necessarily intends to present its MAUI JIM-


                                                  24
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 26 of 40 PageID #:10233




branded sunglasses as authentic MAUI JIM sunglasses. See H-D U.S.A., LLC v. Guangzhou Tomas

Crafts Co., Ltd., No 16-cv-10096, 2017 WL 6733685, *4 (N.D. Ill. Dec. 18, 2017).

       Moreover, the cultivated ignorance by which SBG acquires the MAUI JIM-branded

sunglasses it sells further reveals SBG’s bad intent. As discussed earlier, Maui Jim has never sold

a single pair of MAUI JIM sunglasses to SBG. Because SBG cannot get MAUI JIM sunglasses

from Maui Jim, SBG has charted a secretive path around Maui Jim. SBG contends that it gets the

sunglasses through

                                                                                           Therefore,

the MAUI JIM-branded sunglasses that those companies sold to SBG could not have come to those

companies “directly from Maui Jim.”




                                                                                   And SBG admits

that it neither knows the sources nor cares to know, for fear of being invested with uncomfortable

facts. That is enough to show bad intent. “It is not necessary to produce direct evidence of

willfulness to satisfy the statute. Rather, ‘it is enough for these purposes that the defendant failed

to inquire further because he was afraid of what the inquiry would yield. Willful blindness is

knowledge enough.’” UL LLC v. Am. Energy Prod., LLC, 358 F. Supp. 3d 753, 760 (N.D. Ill.

2019) (quoting Louis Vuitton S.A. v. Lee, 875 F.2d 584, 590 (7th Cir. 1989)).

       There are no genuine issues of material fact to contradict the evidence: each “likelihood of

confusion “factor points to a likelihood of confusion. Together, the factors require such a finding.




                                                 25
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 27 of 40 PageID #:10234




IV.    SBG CANNOT ESTABLISH THE EXHAUSTION OR FIRST SALE DEFENSE

       SBG relies on the doctrine of exhaustion (also known as “the first sale doctrine”) as an

affirmative defense, arguing that “Maui Jim placed its sunglasses into the stream of commerce by

selling them and exhausted its exclusive statutory right to control distribution of those products.

Defendants cannot be prevented from advertising and selling Maui Jim merchandise in

competition with Maui Jim.” (ECF 259, at 31-32.)

       SBG cannot meet its burden of establishing its affirmative defense for each of three

reasons: first, SBG cannot prove that every pair of MAUI JIM-branded sunglasses that SBG sold

were the subject of an authorized first sale by Maui Jim to SBG or to one of Maui Jim’s authorized

retailers; second, the MAUI JIM-branded sunglasses that SBG sells are materially different from

the MAUI JIM sunglasses that Maui Jim sells; and third, SBG goes far beyond the limited

boundaries of the first sale doctrine.

       A.      SBG Cannot Establish That Each Pair of MAUI JIM Sunglasses That It Sold
               Was First Sold by Maui Jim to SBG or to One of Maui Jim’s Authorized
               Retailers

       SBG must establish, among other things, that each pair of MAUI JIM-branded sunglasses

that SBG sold had earlier been sold by Maui Jim to SBG or to one of Maui Jim’s authorized

retailers. See Ryan v. Volpone Stamp Co., 107 F. Supp. 2d 369, 382 (S.D.N.Y. 2000). Without such

proof, the first sale doctrine does not apply and the MAUI JIM-branded sunglasses that SBG sold

cannot be genuine. See Liz Claiborne, Inc. v. Mademoiselle Knitwear, Inc., 979 F. Supp. 224, 231

(S.D.N.Y. 1997).

       As previously discussed, SBG has never purchased a single pair of MAUI JIM-branded

sunglasses from Maui Jim.



                                                26
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 28 of 40 PageID #:10235




                                                        Thus, SBG cannot establish that all of the

MAUI JIM-branded sunglasses that it sold were the subject of an authorized first sale by Maui

Jim. That alone ends SBG’s reliance on the first sale doctrine.

       The defendant in RFA Brands, LLC v. Beauvais, No. 13-14615, 2014 WL 7780975 (E.D.

Mich. Dec. 23, 2014), relied on the first sale doctrine but could only speculate as to the origin of

the products at issue. Because the defendant could not establish that the first sales of the products

were authorized, the Court found that the first sale defense was inapplicable and entered summary

judgment in plaintiff’s favor. Id., at *8. So, too, here where SBG offers less than speculation; it

has deliberately stayed ignorant of the source of the MAUI JIM-branded sunglasses that it

purchases from third parties, half of whom have never been Maui Jim authorized retailers.

       But even if SBG could jump that hurdle, it immediately falls for two other reasons.

       B.      The MAUI JIM-Branded Sunglasses That SBG Sold Were Materially
               Different From Genuine MAUI JIM Sunglasses

       Where branded goods sold by a reseller materially differ from the branded goods sold by

the trademark owner, the first sale doctrine does not apply.

               There is a material difference exception to the First Sale Doctrine. See Beltronics
               USA, Inc. v. Midwest Inventory Distrib., LLC, 562 F.3d 1067, 1071 (10th Cir. 2009)
               (finding First Sale Doctrine does not apply where an unauthorized reseller resells a
               product missing a warranty term); Australian Gold, Inc. v. Hatfield, 436 F.3d 1228,
               1241 (10th Cir. 2006) (finding First Sale Doctrine does not apply to an unauthorized
               retailer of tanning lotions using a trademark to give consumers the impression they
               are an authorized retailer). The exception exists primarily because a material
               difference in a product is “likely to cause consumer confusion and could dilute the
               value of the trademark.” See Brilliance Audio, Inc. v. Haights Cross Communs.,
               Inc., 474 F.3d 365, 370 (6th Cir. 2007). And “a physically identical product is
               nevertheless ‘materially different’ from the genuine article if ‘the bundle of
               services’ that attach to the genuine article is not available to the consumer.” Bel
               Canto Design, Ltd. v. MSS HiFi, Inc., 837 F.Supp.2d 208, 224 (E.D.N.Y. 2011)
               (quoting Beltronics USA, Inc. v. Midwest Inventory Distrib. LLC, 522 F.Supp.2d
               1318, 1327 (D. Kan. 2007) aff’d 562 F.3d 1067, 1071 (10th Cir. 2009)).


                                                 27
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 29 of 40 PageID #:10236




ABG Prime Grp., Inc. v. Innovative Salon Prod., Inc., No. 17-12280, 2018 WL 2937327, at *4

(E.D. Mich. June 12, 2018). See also Duracell US Operations, Inc. v. JRS Ventures, Inc., No. 17

C 31366, 2018 WL 3920617, at *3 (N.D. Ill. Aug. 16, 2018). Even subtle differences can be

material, because “it is by subtle differences that consumers are most easily confused.” Societe des

Produits Nestle, S.A. v. Casa Helvetia, Inc., 982 F.2d 633, 640 (1st Cir. 1992). For that reason, the

“threshold of materiality must be kept low.” Id. at 641. If there are differences, “it is incumbent

upon the importer to show that the differences are not of the kind that consumers on average, would

likely consider in purchasing the product.” Hyundai Const. Equip. U.S.A., Inc. v. Chris Johnson

Equip., Inc., No. 06 C 3238, 2008 WL 4210785, *2 (N.D. Ill. Sep. 10, 2008). “[A] material

difference between goods simultaneously sold in the same market under the same name creates a

presumption of consumer confusion as a matter of law.” Nestle, 982 F.2d at 640 (citations omitted).

       The MAUI JIM-branded sunglasses that SBG sold materially differ from genuine MAUI

JIM sunglasses in several ways. First, customers experience inordinate delays in receiving MAUI

JIM-branded sunglasses from SBG because, among other things, SBG fails to comply with

regulations of U.S. Customs and Border Protection and the Food & Drug Administration. In fact,

the FDA issued an “Import Alert” in August 2018 identifying a “Red List” of companies “who are

not registered or have inadequate registration and have imported or offered for import drugs or

medical devices when they were not registered and their products listed.” (SOF 59.) SBG,

identified as Motion Global, is on the Red List of companies. The Alert continues: “The

establishments identified below were notified, by Warning Letter and/or other means, that they are

in violation of the Act and their articles are subject to imports refusal as misbranded. These firms

have not corrected the violations.” (Id.)




                                                 28
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 30 of 40 PageID #:10237




       The record shows that several SBG shipments were subject of Notices of FDA Action.

(SOF 60.) Customer complaints to SBG vividly tell the story of their negative experiences resulting

from SBG’s non-compliance with U.S. regulations. (Confusion Chart) For example:




                                                29
Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 31 of 40 PageID #:10238




       SBG’s failure to comply with regulations resulting in delivery delays and seizures is a

material difference. See PepsiCo, Inc. v. Reyes, 70 F. Supp. 2d 1057, 1059 (C.D. Cal. 1999).

       Even without having to navigate the FDA red flags triggered by SBG shipments, SBG’s

failure to manage the process of shipping MAUI JIM-branded sunglasses to the U.S. from a

location nearly 8,000 air miles away has led to long delays. As shown in the following paragraph,

it can take an unsuspecting U.S. consumer weeks or months to receive MAUI JIM-branded

sunglasses from SBG, if it receives them at all. This is in stark contrast to Maui Jim’s 48-hour

shipment requirement for its U.S. authorized retailers. (SOF 25.)

       The record is full of consumer emails to SBG and Maui Jim complaining about SBG’s

delivery delays. They are compiled at SOF 61 (“Delay Chart”). For example:




                                               30
Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 32 of 40 PageID #:10239




       And consumers attribute SBG’s delays and poor service to Maui Jim, as illustrated in this

July 4, 2017, email from an SBG customer to Maui Jim’s Customer Service:




             (Delay Chart, at , No. 90.) Of course, SBG is not a vendor but the customer thought

otherwise.

       The second material difference stems from Maui Jim’s warranty program, which is an

integral part of its customer service (SOF 30) and therefore material to consumers’ purchasing

decision. Examples of consumer statements reflecting the importance of Maui Jim’s warranty are

collected at SOF 62. Maui Jim’s warranty, however, does not apply to sunglasses purchased

outside its network of authorized retailers. (SOF 28.) Needing to plug that hole, SBG offers a

warranty for its MAUI JIM-branded sunglasses that differs from Maui Jim’ warranty. (SOF 63.)

The terms of SBG’s warranty are immaterial; the fact that consumers purchase MAUI JIM-branded

sunglasses that come with a warranty that differs from Maui Jim’s warranty is a material

difference. See Hyundai Const. Equip. U.S.A., Inc. v. Chris Johnson Equip., Inc., No. 06-3238,

2008 WL 4210785, at *2 (N.D. Ill. Sept. 10, 2008).




                                              31
    Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 33 of 40 PageID #:10240




         The third material difference is that once the sunglasses left Maui Jim’s authorized retailer

network, Maui Jim lost control over the conditions and environments in which the sunglasses were

handled and kept by unauthorized third parties.6 That lack of control means that someone who

bought MAUI JIM-branded sunglasses from SBG may have received MAUI JIM-branded

sunglasses that differed from genuine MAUI JIM sunglasses. And that is what happened. For

example, SBG sold MAUI JIM-branded sunglasses after removing the original lenses and

mounting into the frames prescription lenses that did not come from Maui Jim and that were

manufactured using a process over which Maui Jim had no control. (SOF 34.)

         In the face of such irrefutable evidence, SBG cannot meet its burden of showing that the

differences are not material.

         C.      The ‘Sponsorship Exception’ to the First Sale Doctrine Makes SBG Unable
                 to Establish the Defense

         Even if SBG could overcome the two previous obstacles to its use of the first sale doctrine,

SBG could not establish the defense for yet another reason: SBG’s conduct goes beyond the mere

resale of MAUI JIM-branded sunglasses; it conveys the impression that SBG is an authorized

retailer of MAUI JIM sunglasses, when it is not.

          “It is the essence of the ‘first sale’ doctrine that a purchaser who does no more than stock,

display, and resell a producer’s product under the producer’s trademark violates no right conferred

upon the producer by the Lanham Act.” Sebastian Int’l, Inc. v. Longs Drug Stores Corp., 53 F.3d

1073, 1076 (9th Cir. 1995) (emphasis added). The first sale doctrine offers no protection for



6
  This presupposes an unestablished fact: that the sunglasses originated with Maui Jim. The
presupposition works in favor of SBG, but Maui Jim makes it for present purposes only.


                                                  32
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 34 of 40 PageID #:10241




resellers who use others’ trademarks to give the impression that they are favored or authorized

dealers for a product when in fact they are not. See D 56, Inc. v. Berry’s Inc., 955 F.Supp. 908,

910–20 (N.D. Ill. 1997). “One who resells trademark goods is obligated to do so in a manner that

is not likely to cause confusion or imply that the seller is associated with the manufacturer.”

Bernina of Am., Inc. v. Fashion Fabrics Int’l, Inc., No. 01 C 585, 2001 WL 128164, at *2 (N.D.

Ill. Feb. 9, 2001). Any conduct “beyond the mere resale of the goods” triggers liability and renders

the first sale doctrine irrelevant. Enesco Corp. v. K’s Merch. Mart, Inc., No. 99 C 1070, 2000 WL

1800640 (N.D. Ill. Aug. 29, 2000). Confusion is especially likely where, as here, “the manufacturer

has an authorized network in place and the consumer is misled into believing that the defendant is

part of that network.” Enesco Corp. v. K’s Merch. Mart Inc., No. 99 C 1070, 2000 WL 1800640,

at *13 (N.D. Ill. Aug. 29, 2000).

       SBG far exceeds the “stock, display, and resell” boundaries of the first sale defense and is

the poster child for the sponsorship exception. Despite SBG’s admission that it is not authorized

retailer (SOF 64), it holds itself out to consumers as being just that. For example,



                                                               Additional examples are collected at

the False Rep Chart.

       Moreover,

                                               Because Maui Jim is a leading eyewear manufacture

and supplier, SBG misleads consumers into believing that SBG works directly with Maui Jim or

that Maui Jim has sponsored or approved SmartBuy, when that is not the case. One example comes

from the “Authenticity” page of the SmartBuy website, where SBG advertises:




                                                 33
Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 35 of 40 PageID #:10242




       In yet another example, SBG advertised on its website that it obtains its sunglasses “directly

from the world’s leading eyewear suppliers” and includes an image, reproduced below (the

“Supply Chain Image”), that visually illustrates the direct route that sunglasses travel from

manufacturer to customer. SBG emphasizes that its sunglasses avoid the “Traditional Supply

Chain” that includes intermediate steps, in favor of “Our Supply Chain” — a direct route between

manufacturers and customers. But SBG does not work with Maui Jim, nor does it procure MAUI

JIM-branded sunglasses directly from Maui Jim.




(SOF 68.)

       This demonstrates that consumers take away the message from these representations that

SBG is an authorized retailer of Maui Jim. In a recent example from June 2018, a prospective


                                                34
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 36 of 40 PageID #:10243




consumer wrote to SBG’s Customer Service Department that he understood from reviewing SBG’s

“Authenticity” page that SBG works directly with Maui Jim and he was outraged when he found

out from Maui Jim that SBG was not an authorized retailer.




                                         (SOF 65, at 11, No. 148.)

         In another example, a customer of SBG wrote to SBG’s Customer Service indicating that




                                                                          This is another example

of customers interpreting SBG’s statements as implying that SBG is an authorized retailer, when

it is not.

         Last, SBG fraudulently uses Maui Jim’s 2009 Drop Ball Certification, without Maui Jim’s

knowledge or authorization, to mislead Customs into believing that Maui Jim guaranteed that

whatever SBG was shipping to U.S. customers had been tested for impact resistance. (SOF 43.)

         SBG does far more than merely “stock, display, and resell” genuine MAUI JIM sunglasses.

It has embarked on a systemic, prolonged, and sophisticated scheme to mislead consumers and

others in material ways. Its scheme has worked, as evidenced by the 182 instances of actual

confusion that disqualify SBG from establishing its first sale defense. There is no evidence to the

contrary on which a jury could reasonably find for SBG on this issue.



                                                35
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 37 of 40 PageID #:10244




V.     FALSE ADVERTISING IN VIOLATION OF 15 U.S.C. § 1125(A)

       To establish a claim under the false or misleading advertising, Maui Jim must prove that:

(1) SBG has made a false or misleading statement of fact about the MAUI JIM-branded sunglasses

that it sells in a commercial advertisement or promotion; (2) the statement actually deceived or has

the tendency to deceive a substantial portion of its audience; (3) the deception is material, in that

it is likely to influence the purchasing decision; (4) SBG caused its statement to enter interstate

commerce; and (5) Maui Jim has been or is likely to be injured as a result of the statement, either

by direct diversion of sales from itself to defendant or by a loss of goodwill associated with its

products. See Hot Wax, Inc. v. Turtle Wax, Inc., 191 F.3d 813, 819-20 (7th Cir. 1999); B. Sanfield,

Inc. v. Finlay Fine Jewelry Corp., 168 F.3d 967, 971 (7th Cir. 1999); Grove Fresh Distribs., Inc.

v. New England Apple Prods. Co., 969 F.2d 552, 557 (7th Cir. 1992).

       A false statement can be (1) literally false as a factual matter, or (2) literally true or

ambiguous, but implicitly conveying a false impression, misleading in context, or likely to deceive

consumers. Hot Wax, 191 F.3d at 820. Literally false statements give rise to a presumption of

deception and materiality. See, e.g., Hot Wax, 191 F.3d at 819; BASF Corp. v. Old World Trading

Co., 41 F.3d 1081, 1089 (7th Cir. 1994); Avila v. Rubin, 84 F.3d 222, 227 (7th Cir. 1996); Genderm

Corp. v. Biozone Labs., 1992 WL 220638, at *2 (N.D. Ill. Sept. 3, 1992).

       Where a statement is not false on its face, the plaintiff must produce evidence showing that

a substantial portion of the intended audience is likely to be misled by it, usually in the form of a

consumer surveys. Sparknet Commc’ns, L.P. v. Bonneville Int’l Corp., 386 F. Supp. 2d 965, 978

(N.D. Ill. 2005). SBG’s customer service representatives have made numerous literally false

statements, as detailed above and at SOF 65. Furthermore, SBG has advertised, and continues to

advertise, the follow literally false statement on its website.



                                                  36
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 38 of 40 PageID #:10245




               Can I trust the authenticity of the products? All of our products have a 100%
               Authenticity Guarantee, no exceptions. SmartBuyGlasses takes great lengths to
               ensure the high quality and product authenticity that our customers have come to
               expect, and all products are accompanied with official tags and manufacturer
               warranties. (SOF 69) (emphasis added).)

       As has been made abundantly evident, Maui Jim does not honor the warranty for sales of

MAUI JIM-branded sunglasses by SBG. Additionally, SBG’s Supply Chain Image and

representations that it has a U.S. location are also literally false statements. As such, deception and

materiality are thus presumed.

       Maui Jim commissioned a survey to test whether SBG’s website misleads consumers into

believing that SBG is an authorized retailer of MAUI JIM sunglasses. The results of the survey

show that 40.1% of the survey respondents took away the impression that SBG is an authorized

retailer of MAUI JIM sunglasses. (SOF 70.) This evidence is entitled to substantial weight,

particularly when combined with the evidence discussed earlier of SBG’s false and misleading

statements. It shows actionable false advertising. See James Burrough Ltd. v. Sign of the Beefeater,

Inc., 540 F.2d 266, 279 n.23 (7th Cir. 1976).

VI.    REVERSE PASSING OFF IN VIOLATION OF 15 U.S.C. § 1125(A)

       By identifying             , one of Maui Jim’s biggest competitors and one of SBG’s “main

partners, “as the manufacturer of MAUI JIM-branded sunglasses on Commercial Invoices sent to

customers, SBG is liable for “reverse passing off “under the Lanham Act. Reverse passing off

occurs when a party misrepresents that someone else’s goods are its own (or in this case, are goods

manufactured by one of the party’s “main partners”). See Dastar Corp. v. Twentieth Century Fox

Film Corp., 539 U.S. 23, 26 n. 1, 123 S.Ct. 2041, 156 L.Ed.2d 18 (2003); Smith v. Montoro, 648

F.2d 602, 605 (9th Cir. 1981) (reverse passing off is accomplished when the wrongdoer removes

the trademark on another’s product and sells it under a name chosen by the wrongdoer).


                                                  37
 Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 39 of 40 PageID #:10246




       SBG’s misconduct constitutes reverse passing off because: (1) identified              as the

manufacturer – meaning, the origin – of MAUI JIM-branded sunglasses, when                  did not

manufacture them; (2) SBG caused the sunglasses to enter into commerce; and (3) Maui Jim is

likely to be damaged as a result thereof. See Web Printing Controls Co., Inc. v. Oxy-Dry Corp.,

906 F.2d 1202, 1203 (7th Cir. 1990). The damage to Maui Jim is established by showing a

likelihood that consumers will be by SBG’s identification of               as the manufacturer of

MAUI JIM-branded sunglasses. See Id. 1204. The record has unassailable evidence of actual

confusion, which is the best evidence of a likelihood of confusion. See Am. Taxi Dispatch, Inc. v.

Am. Metro Taxi & Limo Co., 582 F. Supp. 2d 999, 1006 (N.D. Ill. 2008)

       Under the irrefutable facts, “[i]t is difficult to imagine how a designation of origin of a

product could be more false, or could be more likely to cause confusion or mistake as to the actual

origin of the product. “Johnson v. Jones, 149 F.3d 494, 503 (6th Cir. 1998) (affirming summary

judgment of reverse passing off).

VII.   UNFAIR COMPETITION, IN VIOLATION OF ILLINOIS’ UNIFORM DECEPTIVE TRADE
       PRACTICES ACT, 815 ILCS 510 ET SEQ.

       Maui Jim is entitled to summary judgment that SBG has violated the UDTPA based on the

same evidence that establishes SBG’s liability under the Lanham Act. See Entertainment One UK

Ltd. v. 2012Shiliang, No. 18 CV 4461, 2019 WL 1953096, **3 and 6 (N.D. Ill. May 2, 2019); H-

D U.S.A., LLC v. Guangzhou Tomas Crafts Co., Ltd., No 16-cv-10096, 2017 WL 6733685, *2

(N.D. Ill. Dec. 18, 2017).

VIII. CONCLUSION

       Maui Jim requests that the Court enter summary judgment that SmartBuy has violated the

Lanham Act, 15 U.S.C. §§ 1114(1) and 1125(a), by infringing Maui Jim’s trademark rights, by

using counterfeit marks, by engaging unfair competition, and by engaging in false advertising. The


                                                38
    Case: 1:16-cv-09788 Document #: 430 Filed: 08/09/19 Page 40 of 40 PageID #:10247




same facts also establish SBG’s liability, on summary judgment, under Illinois’ Uniform

Deceptive Trade Practices Act, 815 ILCS 510/2(a). Such a judgment would resolve Counts I, II,

and V of Maui Jim’s Second Amended Complaint (ECF 257, at 25-27 and 30-31).

         SBG’s Second Amended Complaint also alleges that: SBG’s use of the MAUI JIM Marks

constitutes dilution under the Lanham Act (Id., at 27-28, Count III); and SBG has tortiously

interfered with Maui Jim’s contracts with its authorized retailers (Id., at 31-32, Count VI). Maui

Jim does not move for summary judgment on those Counts only because the Court’s disposition

of this Motion may render the relief sought by those Counts duplicative and/or moot as a practical

matter. Nothing in this Motion or elsewhere should be construed as a waiver of Maui Jim’s right

to try those claims, depending on the Court’s disposition of this Motion.7

                                                Respectfully submitted,

                                                /s/ John Gabrielides
                                                John Gabrielides
                                                BARNES & THORNBURG LLP
                                                One North Wacker Drive, Suite 4400
                                                Chicago, IL 60606

                                                Michelle M. Mikol
                                                BARNES & THORNBURG LLP
                                                1717 Pennsylvania Avenue NW, Suite 500
                                                Washington, DC 20006

                                                Attorneys for Plaintiff




7
 The remaining Count of Maui Jim’s Second Amended Complaint alleges that SBG has infringed
Maui Jim’s copyrights in 93 photographs owned by Maui Jim of MAUI JIM sunglasses. (ECF 257,
at 28-30, Count IV). Maui Jim is entitled to summary judgment on that claim for the reasons set
forth in a separate motion for summary judgment being filed concurrently with this Motion.


                                                39
